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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
_____________________________________
                                         )
AHMAD MUAFFAQ ZAIDAN, et al.,            )
                                         )
               Plaintiffs,               )
                                         )
       v.                                )   Civil Action No. 1:17-cv-0581 (RMC)
                                         )
DONALD J. TRUMP,                         )
President of the United States, et al.,  )
                                         )
               Defendants.               )
                                         )

                        NOTICE OF SUBMISSION OF CLASSIFIED
                         IN CAMERA, EX PARTE DECLARATIONS

       Defendants, through their undersigned counsel, hereby provide notice that they have

submitted solely for the Court’s ex parte, in camera review the classified declarations of Patrick

M. Shanahan, Acting Secretary of Defense, and Daniel R. Coats, Director of National

Intelligence, in support of Defendants’ Motion to Dismiss, which was filed on this date. These

classified in camera, ex parte declarations were provided to a Classified Information Security

Officer of the United States Department of Justice Litigation Security Group for secure storage

and transmission to the Court.



Dated: January 30, 2019               Respectfully submitted,

                                      JOSEPH H. HUNT
                                      Assistant Attorney General

                                      ANTHONY J. COPPOLLINO
                                      Deputy Branch Director

                                       /s/ Kathryn C. Davis
                                      KATHRYN C. DAVIS (D.C. Bar No. 985055)
                                      United States Department of Justice
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